

332-4 W. 47th St. Assoc. L.P. v Buxo (2024 NY Slip Op 50162(U))



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332-4 W. 47th St. Assoc. L.P. v Buxo


2024 NY Slip Op 50162(U)


Decided on February 21, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 21, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Perez, JJ.



570162/22

332-4 West 47th Street Associates L.P., Petitioner-Landlord-Respondent, 
againstJeannie Buxo and Oxana Nabokova, Respondents-Tenants-Appellants.




Tenants appeal from (1) a final judgment of the Civil Court of the City of New York, New York County (Clifton A. Nembhard, J.), dated November 30, 2020, awarding landlord possession and a recovery of rent arrears in the sum of $55,000, and (2) an order of the same court (Travis J. Arrindell, J.), dated May 17, 2023, denying their motion to vacate all actions in the proceeding subsequent to November 30, 2020, in a holdover summary proceeding.




Per Curiam.
Order (Travis J. Arrindell, J.), dated May 17, 2023, affirmed, with $10 costs. Appeal from final judgment (Clifton A. Nembhard, J.), dated November 30, 2020, dismissed, without costs.
Tenants' motion, pursuant to CPLR 321(c), to vacate all actions in this proceeding subsequent to November 30, 2020, on the ground that their prior counsel was "mentally incapacitated" was properly denied. The claimed disability of prior tenants' counsel "is unsupported by any medical proof and, in the absence of the requisite proof of the disability, we find that CPLR 321(c) is not applicable" (Matter of Plaro Estates, Inc. v Assessor, 101 AD3d 886, 888 [2012]; see Winney v County of Saratoga, 252 AD2d 882, 883 [1988]).
Tenants' appeal from the final judgment is barred by the prior order of this Court dismissing that appeal as untimely (332-4 W.47th St. Assoc., LP v Buxo, Jeannie &amp; Nabokova, Oxana, 2022 NY Slip Op 66396[U][App Term, 1st Dept 2022]; see Katz Park Ave. Corp. v Jagger, 98 AD3d 921 [2012]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 21, 2024









